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`UNITED STATES `BA.NI{RUPTCY COURT
S()UTHERN DISTRIC'I` UF INI)IANA

NEW ALBANY DIVI`SI'ON

IN RE: )

) CASE NU`MBER: lS~'?{}S¢lJ§~BHL~”!

Steven M Black aka St€ven Mich.ae] Black ) CI~IAI’TER: 7

aka Steve Black ifde Sl\’l Blacl;, Inc. fdba SM )
Bls\ck Ent‘erprises, Inc. )
)
Jennifer Joyce Black fica Jenllifer Joyee )
Mosby )
Debl'ors. )

AGREEI) EN'I`RY ON MOTION FOR REIJlEF FR()M STAY
COMES NOW Steven M Black aka Steven Mic:hael Black aka Steve Blaclc fcle SM Black,
Inc. fdba SM Black Entel'prises, lnc., and J`ennifel' 105/ce I:Blaclc film .lennifer Joyce l\/lc)sby, and
Nationstar Mortgage LLC djbfa Mr., Creditor, in tile above-captioned Chapter 7 case and stipulate m

the following

 

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l. Tlie Debtors became delinquent on their postupetition mortgage payments to
Nationstat Mei'tgage LLC d/b/a I\/.[r. Coopei' and Natienstar Moitgage LLC cl/b/a Mi'. Cooper filed a
I\/lotion for Relief from Stay and for Al)arldonment of R'eal Estate on the real estate located at 4319
Meadowriclge Rd, Evans'vilie, IN 4'?'710.

2,- As of August 3, 20 l 8, Tliere is due and ewing to Nationstar Moi'tgage LLC cl/b/a MI.
Cooper the sum of $70,483.41 itt unpaid principal and interest Tlie account is due for the Jariuaty 1,
2018 to tile present

3. The Ti’ustee does net have the property listed at this time. ”[`he trustee believes that the
sale of the property and payment of the secured claim of and Nationstar Mol'tgage LLC d/b/a Mr.
Cooper will produce equity available for payment of other creditors of the estate and Nationslar

Mortgage LLC dfb/a Mr. Coopei' and.the 'I`rustee now agree as follows:

 

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A. The Autoinatio Stay of 11 U.S.C §362 shall be vacated and the property abandoned
from the estate effective Jannary 14, 20l 9. This relief can be modified by either party,
by order of Conrt or agreement

B. The Trustce Will list the property for sale and make reasonable efforts to sell same

EXAMINED ANI) APPROVED BY:

\\v\\ \`ll\*\i\

R. Stephen EaPlante, Trustee

EXAMINED AND APPROVED BY: EXAMINED AND APPROVED BY:

DOYLH & FOUTTY, P.C.

/s/ Kevin S. Kinl<ade
Attorney for Steven M Blaek aka Steven Michael
Black aka Steve Blael< fdba SM Blaek, lnc. fdl)a
Attorneys for Nationstat Mortgage LLC d`/b/a SM Black Enterprises, Inc. and and Jennifer
Mr. Coopet Joyee Black tka lennifer Joyce Moshy

/stessica S. Owens

 

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